USCA11 Case: 21-14504     Document: 11          Date Filed: 02/22/2022    Page: 1 of 40


                                 21-14504

      United States Court of Appeals
                                      for the

                    Eleventh Circuit
          COMMODITIES & MINERALS ENTERPRISE, LTD.,

                                                                    Petitioner/Appellee,

                                       – v. –



                CVG FERROMINERA ORINOCO C.A.,

                                                                  Respondent/Appellant.

                        _____________________________
       APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF FLORIDA
                 CASE NO: 1:19-cv-25217-DPG
                     (Hon. Darrin P. Gayles)

           INITIAL BRIEF OF APPELLANT

                                                 DANIEL E. VIELLEVILLE
                                                 ASSOULINE & BERLOWE, PA
                                                 100 SE 2nd Street, Suite 3105
                                                 Miami, Florida 33131
                                                 (305) 567-5576

                                                 Counsel for Respondent/Appellant



                            COUNSEL PRESS • VA – (804) 648-3664
 USCA11 Case: 21-14504   Document: 11   Date Filed: 02/22/2022   Page: 2 of 40



        Commodities & Minerals Enterprise, Ltd. v. CVG Ferrominera
                     Orinoco C.A., No. 21-14504

             CERTIFICATE OF INTERESTED PERSONS

     Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure

and Eleventh Circuit Rule 26.1-1, appellant CVG Ferrominera Orinoco,

C.A. certifies the following persons and entities may have an interest in

this case:

                Deborah Alessandrini

                Assouline & Berlowe, P.A.

                Peter E. Berlowe

                Bolivarian Republic of Venezuela

                Andrea L. Bos

                Brian A. Briz

                CVG Ferrominera Orinoco, C.A.

                Javier Carrillo

                Commodities & Minerals Enterprise Ltd.

                Corporación Venezolana de Guayana

                Alfredo De Jesús O.

                De Jesús & De Jesús


                                  C 1 of 3
USCA11 Case: 21-14504   Document: 11   Date Filed: 02/22/2022   Page: 3 of 40



      Commodities & Minerals Enterprise, Ltd. v. CVG Ferrominera
                   Orinoco C.A., No. 21-14504

               Francis R. Denig

               James Drake, QC

               Michael J. Frevola

               Judge Darrin P. Gayles

               Marie Therese Hervella

               Holland and Knight LLP

               Edward A. Keane

               John D. Kimball

               Seward & Kissel, LLP

               Eloisa Falcon Lopez

               Mahoney & Keane, LLP

               Brian P. Maloney

               Judge Jose E. Martinez

               Moore & Company, P.A.

               Michael T. Moore

               Bruce G. Paulsen

               Lisa Sherriff


                                C 2 of 3
 USCA11 Case: 21-14504   Document: 11   Date Filed: 02/22/2022   Page: 4 of 40



       Commodities & Minerals Enterprise, Ltd. v. CVG Ferrominera
                    Orinoco C.A., No. 21-14504

                A.J. Siciliano

                Daniel E. Vielleville

                George G. Wentz, Jr.




            CORPORATE DISCLOSURE STATEMENT

     Counsel for CVG Ferrominera Orinoco, C.A. certifies that CVG

Ferrominera Orinoco, C.A. is a Venezuelan state-owned corporation

owned by the Corporación Venezolana de Guayana, and no publicly held

corporation owns 10% or more of CVG Ferrominera Orinoco, C.A.’s stock.




                                 C 3 of 3
 USCA11 Case: 21-14504   Document: 11   Date Filed: 02/22/2022   Page: 5 of 40




          STATEMENT REGARDING ORAL ARGUMENT

     Appellant CVG Ferrominera Orinoco, C.A. requests oral argument

of thirty minutes per side. This appeal presents significant questions,

including among others, issues of treaty interpretation and international

comity.

     Appellant believes in good faith that oral argument will be helpful

for the just resolution of this appeal and will significantly enhance the

decision-making process. Not only are the appellate issues highly

meritorious, they also are important and novel. Oral argument will allow

the members of the appellate panel to discuss with and to question

counsel about those aspects of the appeal that are of greatest interest or

concern to the court.




                                    i
 USCA11 Case: 21-14504              Document: 11        Date Filed: 02/22/2022          Page: 6 of 40




                                 TABLE OF CONTENTS

                                                                                                 Page



CERTIFICATE OF INTERESTED PERSONS ..................................... C-1
CORPORATE DISCLOSURE STATEMENT........................................ C-3
STATEMENT REGARDING ORAL ARGUMENT .................................... i
TABLE OF AUTHORITIES ......................................................................iii
STATEMENT OF JURISDICTION ........................................................... 1
STATEMENT OF THE ISSUES ................................................................ 3
STATEMENT OF THE CASE AND FACTS ............................................. 4
        Standard of Review ........................................................................... 7
SUMMARY OF THE ARGUMENT ........................................................... 8
ARGUMENT ............................................................................................... 9
        I.      THE DISTRICT COURT ERRED IN NOT
                CONSIDERING APPELLANT’S ARTICLE V(2)(B)
                PUBLIC POLICY DEFENSE TO CONFIRMATION
                BECAUSE APPELLANT DID NOT SEEK TO
                VACATE THE ARBITRAL AWARD WITHIN THE
                90-DAY STATUTORY PERIOD .............................................. 9
                A.      The FAA and the New York Convention ....................... 9
                B.      The District Court’s Reliance on Inprotsa and
                        Grupos Unidos por el Canal Requires Reversal .......... 13
                C.      Even if Cullen and its progeny could be
                        extended to New York Convention awards, the
                        district court erred in applying them to an
                        Article V(2)(b) defense .................................................. 20


                                                   ii
 USCA11 Case: 21-14504             Document: 11         Date Filed: 02/22/2022       Page: 7 of 40




               D.      Public Policy Defenses to Confirmation of
                       Arbitral Award Cannot be Waived............................... 23
               E.      Not Allowing Article V(2)(b) Defenses in this
                       Case Creates an Improper Distinction Between
                       Non-Domestic and Foreign Arbitral Awards ............... 25
CONCLUSION ......................................................................................... 27




                                                  iii
 USCA11 Case: 21-14504            Document: 11        Date Filed: 02/22/2022        Page: 8 of 40




                              TABLE OF AUTHORITIES

                                                                                            Page(s)
Cases:
Changshou AMEC Eastern Tools and Equipment Co., Ltd.,
  No. EDCV 11-00354 VAP (DTBx), 2012 WL 3106620
  (C.D. Cal. Jul. 30, 2012) ....................................................................... 23
Cullen v. Paine, Webber,J ackson & Curtis, Inc.,
  863 F.2d 851 (11th Cir. 1989) ...................................................... passim
Cvoro v. Carnival Corp.,
  234 F.Supp.3d 1220 (S.D. Fla. 2017) .................................................. 26
Cvoro v. Carnival Corp.,
  941 F.3d 487 (11th Cir. 2019) .............................................................. 26
Florasynth, Inc. v. Pickholz,
   750 F.2d 171 (2d Cir. 1984) ................................................................. 16
Generica Ltd. v. Pharma. Basics, Inc., No. 95 C,
  5935, 1996 WL 535321 (N.D. Ill. Sept 18, 1996), aff’d Generica Ltd.
  v. Pharm. Basics, Inc., 125 F.3d 1123 (7th Cir. 1997) ......................... 17
Glaser v. Legg,
  928 F.Supp. 2d 236 (D.D.C. 2013) ................................................. 16, 17
Grupo Unidos por el Canal, S.A. v. Autoridad del Canal de Panama,
  No. 17-23996-Civ-Scola, 2018 WL 3059649
  (S.D. Fla. Jun. 20, 2018) .......................................................... 13, 14, 15
Hartford Fire Ins. Co. v. Lloyd’s Syndicate 0056 ASH,
  No. CIV397CV00009AVC, 1997 WL 33491787
  (D. Conn Jul. 2, 1997) .......................................................................... 18
Industrial Risk Insurers v. M.A.N. Gutehoffnungshutte GmbH,
  141 F.3d 1434 (11th Cir. 1998) ........................................................ 2, 25




                                                 iv
 USCA11 Case: 21-14504             Document: 11        Date Filed: 02/22/2022        Page: 9 of 40




Inversiones y Procesadora Tropical Inprotsa, S.A. v.
   Del Monte Int’l, GMBH,
   No. 16-24275-CIV-MORENO, 2017 WL 1737648
   (S.D. Fla. May 2, 2017), aff’d Inversiones y Procesadora Tropical
   INPROTSA, S.A. v. Del Monte International GmbH, 921 F.3d 1291
   (11th Cir. 2019) ........................................................................ 13, 14, 15
Jamaica Comm. Trading Co. v. Connell Rice & Sugar Co.,
  No. 87 c 6369, 1991 WL 123962 (S.D.N.Y. July 3, 1991) ................... 17
Mackensworth v. S.S. Am. Merchant,
  28 F.3d 246 (2d Cir. 1994) ..................................................................... 7
Ministry of Defense & Support for the armed Forces of the Islamic
  Repub. Of Iran v. Cubic Defense Sys., Inc.,
  665 F.3d 1091 (9th Cir. 2011) .............................................................. 24
Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth,
  473 U.S. 614 (1984) .............................................................................. 24
Parsons & Whittemore Overseas Co. v. Société Generale de L’Industrie
  du Papier (RAKTA),
  508 F.2d 969 (2d Cir. 1974) ................................................................. 21
Professional Administrators Ltd. v. Kopper-Glo Fuel, Inc.,
  819 F.2d 639 (6th Cir. 1987) ................................................................ 24
Prospect Funding Holdings (NY), LLC v.
  Ronald J. Palagi, P.C., L.L.C,
  No. 8:18-CV-15, 2018 WL 2926296 (D. Neb. Jun. 8, 2018) ................ 18
Riccard v. Prudential Ins. Co.,
  307 F.3d 1277 (11th Cir. 2002) .............................................................. 7
Rintin Corp., S.A. v. Domar, Ltd.,
  476 F.3d 1254 (11th Cir. 2007) ............................................................ 23
Rive v. Briggs of Cancun, Inc.,
  82 Fed. Appx. 359 (5th Cir. 2003) ....................................................... 26
Sarhank Group v. Oracle Corp.,
  404 F.3d 657 (2d Cir. 2005) ................................................................. 24
                                                  v
USCA11 Case: 21-14504                Document: 11          Date Filed: 02/22/2022          Page: 10 of 40




Seiu Healthcare Pennsylvania v. Regional Hosp. of Scranton,
   No. 3;13-CV-02669, 2015 WL 150069 (M.D. Penn. Jan. 12, 2015) ... 24
SH Tankers Ltd. V. Koch Shipping Inc.,
  No. 12 C 00375(AJN), 2012 WL 2357314 (S.D. N.Y. Jun. 19, 2012) . 21
Sheet Metal Employers Industry Promotion Fund v.
  Absolute Balancing Co., Inc.,
  884 F.Supp.2d 617 (E.D. Mich. 2012) ................................................. 25
Taylor v. Nelson,
  788 F.2d 220 (4th Cir. 1986) .......................................................... 13, 17
United Paperworkers Int'l Union, AFL-CIO v. Misco, Inc.,
  484 U.S. 29 ..................................................................................... 23, 24
Univ. Commons-Urbana, Ltd. v. Universal Constructors, Inc.,
  304 F.3d 1331 (11th Cir. 2002) .............................................................. 7
W.R. Grace & Co. v. Local 759, Int’l Union of United Rubber Workers,
  461 U.S. 757 (1983) .............................................................................. 23


Statutes & Other Authorities:
9 U.S.C. § 9 ............................................................................................... 15
9 U.S.C. § 10 ............................................................................................. 16
9 U.S.C. § 10(a)(3) ..................................................................................... 14
9 U.S.C. § 12 ............................................................................................. 14
9 U.S.C. § 201 ......................................................................................... 1, 9
9 U.S.C. § 203 ............................................................................................. 9
9 U.S.C. § 206 ........................................................................................... 10
9 U.S.C. § 207 ........................................................................................... 24
9 U.S.C. § 208 ............................................................................................. 9
9 U.S.C. §§ 1-16........................................................................................... 9

                                                      vi
USCA11 Case: 21-14504               Document: 11          Date Filed: 02/22/2022         Page: 11 of 40




9 U.S.C. §§ 201-208..................................................................................... 9
9 U.S.C. §§ 202-208..................................................................................... 1
28 U.S.C. § 1291.......................................................................................... 2
28 U.S.C. § 1331.......................................................................................... 1
28 U.S.C. § 1333.......................................................................................... 1
Fla. Stat. §§ 684.0001-648.0049 ............................................................... 19
Eleventh Circuit Rule 26.1-1...................................................................... 1
Fed. R. App. P. 4 ......................................................................................... 2
Analytical Commentary on Draft Text of a Model Law on
  International Commercial Arbitration, A/CN.9/264.......................... 19
Born, International Commercial Arbitration, Ch. 26........................ 12, 19
Enforcement of Foreign Arbitral Awards, 21 U.S.T. 2517 ............. passim
New York Convention at arts. II-V, 21 U.S.T. 2517, 330 U.N.T.S. 38 ... 10
New York Convention art. V(1).................................................... 12, 21, 25
New York Convention art. V(2)(b) ................................................... passim
Restatement of the U.S. Law of International Commercial
  Arbitration and Investor-State Arbitration, (Proposed Final Draft,
  April 24, 2019), §4-16, comment c. ...................................................... 22




                                                    vii
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 12 of 40




                  STATEMENT OF JURISDICTION

     This is an action seeking to confirm and enforce an arbitration

award pursuant to the Convention on the Recognition and Enforcement

of Foreign Arbitral Awards, 21 U.S.T. 2517 (the “New York Convention”),

and its implementing legislation, 9 U.S.C. §202-208 (hereinafter

“Convention Act”). This Court has jurisdiction pursuant to 28 U.S.C.

§1331. There is also jurisdiction under 28 U.S.C. §1333 because this is a

“civil case of admiralty or maritime jurisdiction.”

     The Federal Arbitration Act (“FAA”), 9 U.S.C. § 201 et seq., governs

“arbitral awards not considered as domestic awards in the State where

their recognition and enforcement are sought.” New York Convention,

Art. I(1). Under Eleventh Circuit precedent, a nondomestic arbitral

award is an award that is “made” in the United States because the parties

agreed to arbitrate before an arbitrator in the United States, but which

nonetheless falls under the New York Convention and Chapter 2 of the

FAA for one of two reasons: (1) it was “made within the legal framework

of another country, e.g. pronounced in accordance with foreign law, or (2)

it was decided under the laws of the United States but involves either

entities that non U.S. citizens or, even if only U.S. citizens are involved,

                                     1
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 13 of 40



also involves “property located abroad, [or] envisages performance or

enforcement abroad, or has some other reasonable relation with one or

more     foreign   states.”   Industrial    Risk     Insurers     v.    M.A.N.

Gutehoffnungshutte GmbH, 141 F.3d 1434, 1440-41 (11th Cir. 1998).

       The district court’s order confirming the arbitration constitutes a

final order, which is appealable as of right. 28 U.S.C. § 1291. A Notice of

appeal was timely filed. See Fed. R. App. P. 4; see also (DE 37).




                                     2
 USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 14 of 40



                     STATEMENT OF THE ISSUES

  I.   Whether the district court erred in not considering Appellant’s
       Article V(2)(b) public policy defense to confirmation because
       Appellant did not seek to vacate the Arbitral Award within the 90-
       day statutory period.

 II.   Whether the district court had the power to review Appellant’s
       Article V(2)(b) public policy defense to confirmation sua ponte or ex
       officio.

III.   Whether an Article V(2)(b) public policy defense to confirmation can
       be waived.




                                      3
USCA11 Case: 21-14504   Document: 11   Date Filed: 02/22/2022   Page: 15 of 40



             STATEMENT OF THE CASE AND FACTS

     Appellant CVG Ferrominera Orinoco, C.A. (“FMO”), appeals the

district court’s December 2, 2021 Order (the “Order”) (DE 35) confirming

the subject arbitration award.

     Commodities & Minerals Enterprise Ltd. (“CME”) sells various

commodities and minerals, including iron ore. (DE 27-1:25) FMO is a

state-owned company organized and existing under the laws of the

Bolivarian Republic of Venezuela. (DE 27-1:25). Beginning on 2004, the

parties entered into a series of contracts, pursuant to which CME agreed

to supply financing, equipment, services to FMO in connection with

FMO’s iron ore mining and sale operation in Guayana, Venezuela. CME

alleges FMO breached several of these agreements, including two

maritime contracts, the Transfer System Management Contract (the

“TSMC”) and the General Piar Charter. (DE 27-1:25).

     “Specifically, [CME] brought a breach of contract claim, and

alternative claim for account, against [FMO] pertaining to the parties’

Transfer System Management Contract (the “TSMC”), which governed

[CME]s management and operation of [FMO]’s iron ore transfer system.”

(DE 35:1). The Miami-based TSMC arbitration was conducted jointly



                                   4
USCA11 Case: 21-14504     Document: 11   Date Filed: 02/22/2022   Page: 16 of 40



with the New York-based General Piar arbitration, and, accordingly,

both arbitrations were addressed concurrently in the arbitral tribunal’s

final arbitral award dated February 27, 2019 (the “Arbitral Award”). See

generally (DE 27-1:3.) However, only so much of the arbitral award as

concerns the TSMC was placed before the district court for review, the

General Piar being properly before the United States District Court for

the Southern District of New York for any confirmation and enforcement

proceedings. (DE 31:4).

     There is no dispute that, from the inception, FMO has argued that

the TSMC was procured by fraud, bribery, corruption and violated public

procurement laws. (DE 31:10-16; DE 32-17, 19; DE 27-1:57-63). During

the course of the arbitration, FMO submitted substantial evidence to

prove that CME has secured all of its agreements with FMO, including

the TSMC, through corruption of foreign officers and clear violations

other Venezuelan laws. As reflected in the Arbitral Award, the arbitral

tribunal rejected FMO’s corruption allegations and defenses. (DE 27-

1:63). In doing so, the arbitral tribunal failed to consider most of the

evidence submitted by FMO, which established numerous red flags of

corruption acts committed by CME and applied the wrong standard of



                                     5
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 17 of 40



proof and law in this regard. Likewise, the arbitral tribunal impeded

FMO’s from securing evidence from CME in connection with the

allegations of corruption.

     FMO did not attempt to vacate the Arbitral Award during the 90-

day statutory period.

     On July 19, 2021, CME filed its first amended petition to confirm.

(DE 24). FMO opposed CMO’s petition, asserting that the Arbitral Award

should not be confirmed under Article V(2)(b) of the New York

Convention because doing so would be contrary to the public policy

interests of the United States. (DE 31). On October 15, 2021, CME filed

a reply to FMO’s opposition. (DE 34).

     By Order dated December 2, 2021, the district court granted the

petition to confirm the Arbitral Award. (DE 35).

     The district court held “a party that fails to seek vacatur of an

arbitration award within the three-month time limit is also barred from

later raising defenses in opposition to a motion to confirm an arbitration.”

(DE 35:3).

     The appeal addresses the improper confirmation of the Arbitral

Award, issued without considering FMO’s New York Convention, Article



                                     6
USCA11 Case: 21-14504    Document: 11   Date Filed: 02/22/2022   Page: 18 of 40



V(2)(b) public policy defense, and why the errors require reversal of the

Order and remand with instructions to consider FMO’s public policy

defense.

              Standard of Review

     An appellate court normally reviews a district court’s factual

findings for clear error and its legal conclusion de novo. See Univ.

Commons-Urbana, Ltd. v. Universal Constructors, Inc., 304 F.3d 1331,

1345 (11th Cir. 2002) (vacating the district court’s conformation of an

arbitration award due to the arbitrator’s evidently partiality). But where,

as here, the district court made no findings of fact, an appellate court

conducts only a de novo review. See Mackensworth v. S.S. Am. Merchant,

28 F.3d 246, 252 (2d Cir. 1994) (reviewing de novo a dismissal order

where “the district court engaged in no fact-finding in support of [the]

order”). See also Riccard v. Prudential Ins. Co., 307 F.3d 1277, 1289 (11th

Cir. 2002).




                                    7
USCA11 Case: 21-14504      Document: 11   Date Filed: 02/22/2022   Page: 19 of 40



                   SUMMARY OF THE ARGUMENT

     The district court’s confirmation of the Arbitral Award should be

reversed here. First, the district court erred by applying statute of

limitations defenses only applicable to proceedings under Chapter 1 of

the FAA.    (DE 35:3-4). Unlike actions under Chapter 1, Chapter 2

proceedings provide grounds to avoid confirmation distinct from vacatur

grounds. FMO could not have waived confirmation grounds by not

moving to vacate. Second, the district court failed to consider the merits

of FMO’s Article V(2)(b)’s public policy defense. Review of an arbitral

award cannot be waived as Article V(2) of the New York Convention

provides that the reviewing court (in this case, a district court) always

retains the power to consider the defense sua ponte or ex officio. To the

extent a district court retains the ability to review Article V(2)(b)’s public

policy defenses on its own motion, it is axiomatic that public policy

defenses are not subject to waiver for not seeking vacatur within the

statutory 90-day period.




                                      8
USCA11 Case: 21-14504    Document: 11   Date Filed: 02/22/2022   Page: 20 of 40



                                ARGUMENT

     I.    THE   DISTRICT  COURT   ERRED   IN   NOT
           CONSIDERING APPELLANT’S ARTICLE V(2)(B)
           PUBLIC POLICY DEFENSE TO CONFIRMATION
           BECAUSE APPELLANT DID NOT SEEK TO VACATE
           THE ARBITRAL AWARD WITHIN THE 90-DAY
           STATUTORY PERIOD.

           A.    The FAA and the New York Convention.

     The Federal Arbitration Act, or FAA, has two principal chapters at

issue here. Chapter 1 of the FAA generally governs domestic arbitral

awards, 9 U.S.C. §§ 1-16, and Chapter 2 governs foreign arbitral awards

under the New York Convention, 9 U.S.C. §§ 201-208. Chapter 1’s

provisions apply to proceedings under Chapter 2 to the extent there is no

conflict. See 9 U.S.C. § 208.

     Chapter 2 grants federal subject matter jurisdiction only for

proceedings or actions arising under the New York Convention. 9 U.S.C.

§ 203. As its name (i.e., “The Convention on the Recognition and

Enforcement of Foreign Arbitral Awards”) makes clear, the New York

Convention, as well as Chapter 2 of the FAA implementing it, is

concerned with recognizing agreements to arbitrate (i.e., motion to

compel arbitration) and enforcing arbitral awards (i.e., motion to confirm

arbitral awards). See New York Convention at arts. II-V, 21 U.S.T. 2517,



                                    9
USCA11 Case: 21-14504    Document: 11      Date Filed: 02/22/2022   Page: 21 of 40



330 U.N.T.S. 38; see also 9 U.S.C. § 206 (“Order to compel arbitration”);

id. at § 207 (“[A]ny party to the arbitration may apply to any court having

jurisdiction under this chapter for an order confirming the award ….”).

The New York Convention (along with Chapter 2 of the FAA) anticipates

that the arbitral winner will come to court to confirm that award and

make it judicially enforceable. The New York Convention does not govern

the arbitral loser seeking vacatur.

     To that end, the New York Convention sets out grounds to oppose

confirmation of an arbitral award subject to it. These grounds are set

forth in Article V. 1 The grounds mentioned Article V are exhaustive.




1 Article V states: 1. Recognition and enforcement of the award may be

refused, at the request of the party against whom it is invoked, only if
that party furnishes to the competent authority where the recognition
and enforcement is sought, proof that:
     (a) The parties to the agreement referred to in article II were,
     under the law applicable to them, under some incapacity, or the
     said agreement is not valid under the law to which the parties have
     subjected it or, failing any indication thereon, under the law of the
     country       where       the      award      was       made;      or
     (b) The party against whom the award is invoked was not given
     proper notice of the appointment of the arbitrator or of the
     arbitration proceedings or was otherwise unable to present his case;
     or
     (c) The award deals with a difference not contemplated by or not



                                      10
USCA11 Case: 21-14504     Document: 11     Date Filed: 02/22/2022   Page: 22 of 40



Enforcement may be refused “only if” the party against whom the award

is invoked is able to prove one of the grounds listed in Article V(1), or if

the court finds that the enforcement of the award would violate its public

policy (Art. V(2)). Accordingly, while Article V(1) must be invoked by a

party resisting enforcement, as its rationale derives from the protection of

the defendant’s right to due process, Article V(2), on the other hand, protects

the New York Convention’s contracting states’ notions of sovereignty by




      falling within the terms of the submission to arbitration, or it
      contains decisions on matters beyond the scope of the submission to
      arbitration, provided that, if the decisions on matters submitted to
      arbitration can be separated from those not so submitted, that part
      of the award which contains decisions on matters submitted to
      arbitration     may     be      recognized     and     enforced;  or
      (d) The composition of the arbitral authority or the arbitral
      procedure was not in accordance with the agreement of the parties,
      or, failing such agreement, was not in accordance with the law of
      the     country    where    the     arbitration    took    place; or
      (e) The award has not yet become binding on the parties, or has
      been set aside or suspended by a competent authority of the country
      in which, or under the law of which, that award was made.

2. Recognition and enforcement of an arbitral award may also be refused
if the competent authority in the country where recognition and
enforcement is sought finds that:
      (a) The subject matter of the difference is not capable of settlement
      by arbitration under the law of that country; or
      (b) The recognition or enforcement of the award would be contrary
      to the public policy of that country.


                                      11
USCA11 Case: 21-14504    Document: 11     Date Filed: 02/22/2022   Page: 23 of 40



enabling courts on their own motion (and therefore even in default cases)

to deny enforcement if public policy would otherwise be violated. Article

V(2) uses the word “may” as does Article V(1). Under Article V(1) courts

are allowed to deny enforcement of the award if enough evidence

warrants refusal. The assessment of that evidence must be submitted by

the respondent and the decision whether that evidence is satisfactory is

left to the discretion of the enforcement court. Article V(2), the context in

which the word “may” appears, is different. It grants discretion to the

confirming court to assess, even sua ponte, whether any of two defenses

(non-arbitrability or public policy) prevent recognition or enforcement of

the arbitral award. See generally Gary B. Born, International

Commercial Arbitration, Ch. 26, pp. 15-16 (2d Ed. 2014).

     In conclusion, courts should be mindful that there are clear and

fundamental differences within Article V of the New York Convention,

between the grounds against confirmation of an arbitral award raised

pursuant to Article V(1) and Article V(2). The district court made clear

error of laws in failing to distinguish between both sets of defenses.




                                     12
USCA11 Case: 21-14504   Document: 11    Date Filed: 02/22/2022   Page: 24 of 40



             B.   The District Court’s Reliance on Inprotsa and
                  Grupos Unidos por el Canal Requires Reversal.

     In Cullen v. Paine, Webber, Jackson & Curtis, Inc., this Court held

that a party who did not timely file a petition to vacate could not raise

grounds pertaining to vacatur in opposition to a confirmation petition.

863 F.2d 851, 854 (11th Cir. 1989). Cullen, however involved a domestic

arbitration award governed by Chapter 1 of the FAA. See id., at 852. This

Court recognized that confirmation of a domestic award under Chapter 1

of the FAA “can only be denied if an award has been corrected, vacated

or modified in accordance with [the FAA].” Id. at 854 (quoting Taylor v.

Nelson, 788 F.2d 220, 225 (4th Cir. 1986)) (emphasis added).

     Subsequently, the district court for the Southern District of Florida

extended this Court’s holding in Cullen to New York Convention arbitral

awards in Inversiones y Procesadora Tropical Inprotsa, S.A. v. Del Monte

Int’l, GMBH, No. 16-24275-CIV-MORENO, 2017 WL 1737648 (S.D. Fla.

May 2, 2017) (aff’d Inversiones y Procesadora Tropical INPROTSA, S.A.

v. Del Monte International GmbH, 921 F.3d 1291 (11th Cir. 2019), Grupo

Unidos por el Canal, S.A. v. Autoridad del Canal de Panama, No. 17-

23996-Civ-Scola, 2018 WL 3059649, *6 (S.D. Fla. Jun. 20, 2018), and in

this case.


                                   13
USCA11 Case: 21-14504      Document: 11    Date Filed: 02/22/2022   Page: 25 of 40



         In Inprotsa, the petitioner had served a motion to vacate an award

after the 90-day statutory period of 9 U.S.C. § 12. 2017 WL 1737648, *6.

The petitioner also objected to the confirmation of the arbitral award

alleging that the parties’ underlying agreement had been procured by

fraud. Id. at *5. The district court held, without any analysis, that

“Cullen’s reasoning applies to bar INPROTSA from raising affirmative

defenses to the cross-petition for confirmation of the arbitral award.” Id.

at *7. Significantly, the district court did not offer any reasons why the

Cullen’s reasoning was extensive to confirmation defenses under the New

York Convention.        Nevertheless, the district court entertained and

resolved INPROTSA’s public defense. Id. at *5. This Court declined to

review whether the district court erred by concluding INPROTSA was

time barred from asserting defenses to confirmation because the Court

affirmed the district court’s conclusion on the merits. 921 F.3d at 1304,

n. 18.

         In Grupos Unidos por el Canal, the petitioners also served the

defendant with a motion to vacate outside the 90-day statutory time

period. 2018 WL 3059649, *2-4. Petitioners’ motives from seeking

vacatur were grounded on 9 U.S.C. § 10(a)(3) (arbitrators guilty of



                                      14
USCA11 Case: 21-14504   Document: 11    Date Filed: 02/22/2022   Page: 26 of 40



misconduct or of refusing to hear evidence). Id. at *1. Petitioners also

opposed confirmation of the arbitral award under Article V(2)(b),

asserting arbitrator partiality. The district court held that petitioners

were prevented from raising the same arguments to defendant’s motion

to confirm as they did in their time-barred motion to vacate. In its

analysis, the court reasoned that distinguishing between Chapter 1 and

Chapter 2 proceedings “would be illogical, as it would allow a party

barred from seeking vacatur to back-door the very same barred

arguments in opposition to motion to confirm…”). Id. at *6. The district

court, however, failed to analyze Cullen in light of the specific language

of Chapter 2 of the FAA and the unique structure of Article V of the New

York Convention.

     Such application of Cullen to New York Convention arbitral awards

is improper because Cullen is inapplicable to proceedings under Chapter

2 of the FAA., which has different standards for vacatur (Chapter 1) and

for opposing confirmation (Chapter 2). Under Chapter 1, a party may only

oppose confirmation of a domestic award through vacating, modifying, or

correcting the award. 9 U.S.C. § 9. As a result, for domestic awards under

Chapter 1 (unlike foreign awards under Chapter 2), Congress effectively



                                   15
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 27 of 40



equated the standards for vacatur with the standard to opposed

confirmation. See Glaser v. Legg, 928 F.Supp. 2d 236, 240 (D.D.C. 2013)

(citing Cullen and summarizing that “at least five Circuits have held that

if a party fails to file a timely motion to vacate, that party is precluded

from raising purported grounds for vacating the award under 9 U.S.C. §

10 [under Chapter 1] in opposing a motion to confirm the award”

(emphasis added)). But Chapter 2 permits limited grounds to oppose

confirmation that are operate separately and distinctly from the vacatur

grounds under Chapter 1. Moreover, in contraposition to Chapter 1 of the

FAA, the New York Convention divides the grounds for opposing

confirmation of an arbitral award into two groups: one group under

Article V(1), which has to be raised by the opposing party, and other

group under Article V(2), which can be raised by the confirming court

even sua ponte. FMO could not be held to have waived defenses to

confirmation under Chapter 2 that operate differently that the applicable

grounds to vacate under Chapter 1.

     None of the authority cited in Cullen involved foreign arbitral

awards governed by Chapter 2. See, e.g., Florasynth, Inc. v. Pickholz, 750

F.2d 171, 175 (2d Cir. 1984) (domestic award exclusively governed by



                                    16
USCA11 Case: 21-14504    Document: 11     Date Filed: 02/22/2022   Page: 28 of 40



Chapter 1, FAA); Taylor, 788 F.2d at 255 (same) (federal authority

recognizes the inapplicability of Cullen to foreign arbitral awards.) E.G.,

Glaser, 928 F. Supp. 2d at 240 (refusing to extend Cullen’s rationale

under Chapter 2 because “[t]he extensive grounds for denying

confirmation under the Convention stands in stark contrast to the

summary confirmation provided by the Federal Arbitration Act. The

Convention explicitly permits the party opposing confirmation to raise

issues like those asserted by the Petitioner, by the [FAA] simply does

not.”). Several opinions after Cullen reject its application to public policy

issues or its expansion to Chapter 2 proceedings.             Generica Ltd. v.

Pharma. Basics, Inc., No. 95 C 5935, 1996 WL 535321, 82 (N.D. Ill. Sept

18, 1996), aff’d Generica Ltd. v. Pharm. Basics, Inc., 125 F.3d 1123 (7th

Cir. 1997) (holding that “the contention that all [New York Convention]

defenses are waived if not asserted in an action to vacate within three

months of the award in untenable. As the only other to have received

such an invitation explained upon declining: the argument ‘ignores the

plain language’ of section 207 of the implementing statute, which

establishes that there are significant differences between the Convention

and the [FAA] ….” (quoting Jamaica Comm. Trading Co. v. Connell Rice



                                     17
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 29 of 40



& Sugar Co., No. 87 c 6369, 1991 WL 123962, at *2-3 (S.D.N.Y. July 3,

1991))). See also Prospect Funding Holdings (NY), LLC v. Ronald J.

Palagi, P.C., L.L.C, No. 8:18-CV-15, 2018 WL 2926296, *6-7 (D. Neb. Jun.

8, 2018) (ordering discovery to assess public policy defense); Hartford Fire

Ins. Co. v. Lloyd’s Syndicate 0056 ASH, No. CIV397CV00009AVC, 1997

WL 33491787, *3 (D. Conn Jul. 2, 1997).

     The Restatement of the U.S. Law of International Commercial

Arbitration and Investor-State Arbitration sides with the courts that

have declined to extend the waiver of confirmation defenses to New York

Convention awards. See § 4.23(d) (“[A] party ordinarily does not waive a

particular objection merely by failing to bring a timely action to stay the

arbitration or failing to seek to have the award set aside.”) In its

commentary to Section 4.23, the Restatement states:

     d. Failure to seek set-aside. Parties are not required to seek to have
     an award set aside in order to preserve an objection. This position
     is consistent with the absence in modern Conventions of an
     obligation on a party that it first obtain confirmation of an award
     at the seat of arbitration before seeking its recognition or
     enforcement elsewhere. Making recourse at the seat of arbitration
     a general precondition to recognition or enforcement could lead to a
     proliferation of litigation and impair the efficiency of the
     international arbitration process.
     §4.23, Comment d.

     The solution adopted by the Restatement with respect to the non-


                                    18
USCA11 Case: 21-14504      Document: 11    Date Filed: 02/22/2022   Page: 30 of 40



waiver of New York Convention defenses is heavily influenced by the

same principles adopted internationally in           UNCITRAL Model Law

countries. The United States has not adopted the UNCITRAL Model

Law, although Florida has incorporated it in its entirety. See Fla. Stat.

§§ 684.0001-648.0049. Under the UNCITRAL Model Law, a party may

elect not to seek annulment of an award (under Article 34) and

nonetheless resist recognition of the award on almost identical grounds

(under Article 36). See Born, International Commercial Arbitration, Ch.

26, p. 66. Article 36 applies to both awards made abroad and awards

made locally. The drafting history of the UNCITRAL Model Law confirms

that the drafters’ decision was not to limit the grounds for non-

recognition of awards when annulment had not been sought. See

Analytical Commentary on Draft Text of a Model Law on International

Commercial Arbitration, A/CN.9/264, March 25, 1985, p. 71 (available at

https://digitallibrary.un.org/record/85728#record-files-collapse-header).

An illustration on the application of this approach can be found in the

often-cited decision from the highest court of Singapore. See PT First

media TBK v. Astro Nusantara Int’l BV, [2013] SGCA 57, ¶¶ 58-71

(Singapore           Ct.             App.)              (available              at



                                      19
USCA11 Case: 21-14504     Document: 11    Date Filed: 02/22/2022    Page: 31 of 40



https://www.elitigation.sg/gd/s/2013_SGCA_57). Likewise, the highest

court of the United Kingdom has held that the so-called “choice of

remedies” adopted by the UNCITRAL Model Law is consistent with the

regime existent under the New York Convention. See Dallah Real Estate

and Tourism Holding Co. v The Ministry of Religious Affairs, Government

of   Pakistan,   [2010]    UKSC     46,     ¶¶    76,    103       (available   at

https://www.supremecourt.uk/cases/docs/uksc-2009-0165-judgment.pdf).

      Extending Cullen to proceedings under Chapter 2 is incorrect as the

structure of Chapter 1 and Chapter 2, particularly as to Article V of the

New York Convention, are different. No waiver exists.

           C.    Even if Cullen and its progeny could be extended
                 to New York Convention awards, the district
                 court erred in applying them to an Article V(2)(b)
                 defense.

      The text of the New York Convention does not impose any express

limits on the grounds that may be relied upon to annul a foreign award.

Article V of the New York Convention provides a limited (and exclusive)

list of substantive grounds which may be relied upon in refusing

“recognition or enforcement” of an arbitral award. Article V’s limitation

does not apply to actions to annul an award, and instead apply only to

the “recognition” of “foreign” and “nondomestic” awards.


                                     20
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 32 of 40



     Even if the Court would hold that a party cannot raise an objection

in recognition proceedings under Chapter 2 of the FAA, unless it has done

it in a motion to vacate the award, this holding can only apply to defenses

raised under Article V(1). The same result could not apply under Article

V(2)(b)’s public policy exception given the role of public policy as an

exceptional remedy to protect the confirming state’s most basic notions

of justice. See Parsons & Whittemore Overseas Co. v. Société Generale de

L’Industrie du Papier (RAKTA), 508 F.2d 969, 973 (2d Cir. 1974). In this

respect, non-arbitrability (Article V(2)(a)) and public policy (Article

V(2)(b)) are theories for denying recognition and enforcement that are

distinguishable from Article V(1) defenses.

     Article V(2), which provides for nonrecognition of arbitral awards

on grounds of non-arbitrability and public policy is not prefaced by the

requirement that the party opposing recognition or enforcement

demonstrate that the exception is applicable. To the contrary, Article

V(2)(b) reflects the power of a national courts to raise these issues sua

ponte or ex officio. See SH Tankers Ltd. V. Koch Shipping Inc., No. 12 C

00375(AJN), 2012 WL 2357314, *7 (S.D. N.Y. Jun. 19, 2012). As already

mentioned, under Article V(1) courts are allowed to deny enforcement of



                                    21
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 33 of 40



the award – and thus limit the reach of the so-called pro-enforcement

attitude – if enough evidence warrants refusal. The assessment of that

evidence must be submitted by the respondent and the decision whether

that evidence is satisfactory is left to the discretion of the enforcement

court. Article V(2), the context in which the word “may” appears, is

different. Hence, Article V(2)(b)’s provision that a recognition court may

raise issues of public policy sua ponte, regardless of the award-debtor’s

actions provides grounds for treating issues of waiver differently in the

context of public policies than in other settings.

     As the ex officio character of Article V(2)(b)’s public policy exception

suggests, a district court retains the power to deny recognition of an

award on grounds that it violates an applicable public policy. See

Restatement of the U.S. Law of International Commercial Arbitration

and Investor-State Arbitration, (Proposed Final Draft, April 24, 2019),

§4-16, comment c. (“[S]eems virtually axiomatic … that a court would not

choose to confirm, recognize, or enforce an award if doing so would be

repugnant to a fundamental public policy”). It derives from this power

that, if a district court can raise a public policy exception on its own, a

party should not be attributed with having waived the exception by not



                                    22
USCA11 Case: 21-14504    Document: 11     Date Filed: 02/22/2022   Page: 34 of 40



moving to vacate the award.

           D.    Public Policy Defenses to Confirmation                        of
                 Arbitral Award Cannot be Waived.

     The Supreme Court has directed courts to substitute their own

judgment for an arbitrator if the arbitration award, left unchanged,

would violate public policy. See W.R. Grace & Co. v. Local 759, Int’l Union

of United Rubber Workers, 461 U.S. 757, 766 (1983) (“[T]he question of

public policy is ultimately one for resolution by the court.”); Rintin Corp.,

S.A. v. Domar, Ltd., 476 F.3d 1254, 1258 (11th Cir. 2007). See also

Changshou AMEC Eastern Tools and Equipment Co., Ltd., No. EDCV 11-

00354 VAP (DTBx), 2012 WL 3106620, *4 (C.D. Cal. Jul. 30, 2012)

(finding that the arbitrator’s findings about the validity of the arbitration

agreement could not control the district court’s ruling on the merits of a

defendant’s defenses “when considering whether the award contravenes

public policy under Article V” of the New York Convention). The public

policy exception applies where the underlying substantive claim on which

the award is based is contrary to applicable public policy. United

Paperworkers Int'l Union, AFL-CIO v. Misco, Inc., 484 U.S. 29 , 42, 45, n.

12 (1984). Chapter 1 of the FAA does not contain an express public policy

exception (with regard to either vacatur or recognition proceedings).


                                     23
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 35 of 40



Nevertheless, it is well settled that domestic awards that are contrary to

public policy will not be confirmed or recognized under the FAA by U.S.

courts. Id. at 40-42. The same result applies in international cases in U.S.

courts, including under the New York Convention and Chapter 2 of the

FAA. See 9 U.S.C. § 207. In Mitsubishi Motors Corp. v. Soler Chrysler-

Plymouth, the Supreme Court observed that the “Convention reserves to

each signatory country the right to refuse enforcement of an award where

the ‘recognition or enforcement of the award would be contrary to the

public policy of that country.’” 473 U.S. 614, 639 (1984). See also Ministry

of Defense & Support for the armed Forces of the Islamic Repub. Of Iran

v. Cubic Defense Sys., Inc., 665 F.3d 1091, 1097 (9th Cir. 2011); Sarhank

Group v. Oracle Corp., 404 F.3d 657, 661-62 (2d Cir. 2005) (“Article V(2)

of the Convention provides that a United States court is not required to

enforce … the arbitral award [if it] would be contrary to public policy.”)

     At the domestic level, numerous authorities have held that if a

defendant has a public policy defense to the confirmation of an arbitral

award, the court may examine this defense even if the party failed to

move to vacate the arbitration award. See Professional Administrators

Ltd. v. Kopper-Glo Fuel, Inc., 819 F.2d 639, 644 (6th Cir. 1987); Seiu



                                    24
USCA11 Case: 21-14504   Document: 11    Date Filed: 02/22/2022   Page: 36 of 40



Healthcare Pennsylvania v. Regional Hosp. of Scranton, No. 3;13-CV-

02669, 2015 WL 150069, *15 (M.D. Penn. Jan. 12, 2015); Sheet Metal

Employers Industry Promotion Fund v. Absolute Balancing Co., Inc., 884

F.Supp.2d 617, 621 (E.D. Mich. 2012).

     This authority, together with Article V(2)(b)’s provision that a

recognition court may raise issues of public policy sua ponte, regardless

of the award-debtor’s actions, provides sufficient grounds for treating

waiver differently in the context of public policies issues than with

respect to the other defenses set forth in Article V(1) of the New York

Convention.

           E.   Not Allowing Article V(2)(b) Defenses in this Case
                Creates an Improper Distinction Between Non-
                Domestic and Foreign Arbitral Awards.

     Chapter 2 of the FAA covers both foreign and non-domestic awards.

A foreign award is one that is rendered outside the United States, within

the territory of another New York Convention signatory country. As

already mentioned, a non-domestic award is an award that is rendered

in the United States but includes one or more applicable international

elements (e.g., foreign law, foreign entities, property or performance

located abroad). Industrial Risk Insurers, 141 F.3d at 1440-41.



                                   25
USCA11 Case: 21-14504     Document: 11    Date Filed: 02/22/2022   Page: 37 of 40




        A basic tenet of the New York Convention is that the party opposing

recognition or enforcement of a “foreign” arbitral award is not required

to have sought vacatur of the arbitral award at the seat of the arbitration.

See Rive v. Briggs of Cancun, Inc., 82 Fed. Appx. 359, 363-64 (5th Cir.

2003)     (reviewing   public   policy    defense    under     Article   V(2)(b)

notwithstanding that award-debtor never moved to vacate arbitral award

made in Mexico). See also Cvoro v. Carnival Corp., 234 F.Supp.3d 1220,

1228 (S.D. Fla. 2017) (aff’d Cvoro v. Carnival Corp., 941 F.3d 487 (11th

Cir. 2019) (refusing to condition defendant’s ability to raise public policy

defense under Article V of the New York Convention to first raising the

defense before courts of the seat of the arbitration).

        The solution adopted by the district court creates an improper

distinction between “foreign” and “non-domestic” awards. An award-

debtor who fails to seek to vacate the award in the foreign seat (court of

primary of jurisdiction), would maintain the ability to raise an Article

V(2)(b) ground against confirmation of that “foreign” award in the United

States (court of secondary jurisdiction). However, an award-debtor of a

“non-domestic” who decides not to pursue vacatur of that arbitral award



                                     26
USCA11 Case: 21-14504    Document: 11    Date Filed: 02/22/2022   Page: 38 of 40



at the seat of the arbitration, would not have the ability to raise the same

Article V(2)(b) defense during confirmation proceedings in the United

States. Such distinction is artificial and inconvenient, and it is the type

of result that, as academic efforts like the Restatement of the U.S. Law

of International Commercial Arbitration and Investor-State Arbitration

suggest, this Court should seek to prevent.

                             CONCLUSION
     For the foregoing reasons, FMO respectfully requests the Court to

reverse the district court’s Order and remand with instructions for the

district court to consider the merits of FMO’s opposition to CME’s

Petition to Confirm the Arbitral Award under the standards of Article

V(2)(b).




                                    27
USCA11 Case: 21-14504   Document: 11    Date Filed: 02/22/2022   Page: 39 of 40



                CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limitation in Rule

32(a)(7)(B) of the Federal Rules of Appellate Procedure. This brief is

printed in Century Schoolbook 14-point font and contains 4,890 words,

as counted by MS Word.

                                 Respectfully submitted,


                                        S/ Daniel Vielleville
                                        DANIEL VIELLEVILLE
                                        Florida Bar No. 940496
                                        ASSOULINE & BERLOWE,
                                        P.A.
                                        100 S.E. 2nd St., Suite 3105
                                        Miami, FL 33131-2154
                                        Tel: 305.567.5576
                                        Fax: 305.567.9343
                                        dev@assoulineberlowe.com




                                   28
USCA11 Case: 21-14504    Document: 11     Date Filed: 02/22/2022   Page: 40 of 40




                     CERTIFICATE OF SERVICE

     I CERTIFY on February 22, 2022, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify the

foregoing document is being served this day on all counsel of record either

via transmission of Notices of Electronic Filing generated by CM/ECF or

in another authorized manner for those counsel or parties not authorized

to receive electronically Notices of Electronic Filing.

                                          By:    S/ Daniel Vielleville
                                                 DANIEL VIELLEVILLE




                                     29
